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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                     ***
      MYRTLE HYMAN,
4
                           Plaintiff,
5                                                         2:19-cv-00720-JAD-VCF
      vs.                                                 ORDER
6     BONEFISH GRILL, LLC and DOES 1 through
      100; and ROE CORPORATIONS 101 through
7
      200,
8                          Defendant.
9           Before the Court is the Emergency Motion to Enforce Settlement and Stay Discovery (ECF No.
10   23).
11          Accordingly, IT IS HEREBY ORDERED that the Emergency Motion to Enforce Settlement and
12   Stay Discovery (ECF No. 23) will be briefed in the ordinary course.
13          IT IS FURTHER ORDERED that discovery is STAYED pending further order of the court. The
14   dispositive motion deadline and the Joint Pre-Trial Order deadline are VACATED.
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16          DATED this 21st day of October, 2020.
17                                                              _________________________
                                                                CAM FERENBACH
18                                                              UNITED STATES MAGISTRATE JUDGE

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